Case 1:16-cv-00375-AJT-JFA Document 298 Filed 03/11/19 Page 1 of 2 PageID# 9633



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

                                           )
 ANAS ELHADY, et al,                       )
                                           )
                         Plaintiffs,       )                  Civil No. 1:16cv375
                                           )
             v.                            )
                                           )
 CHARLES KABLE, et al.                     )
                         Defendants.       )
                                           )
 __________________________________________)

                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

            Pursuant to Federal Rule of Civil Procedure 56, Defendants hereby move for the entry

 of summary judgment in their favor. The reasons for granting the motion are elaborated in the

 accompanying memorandum of law.



 Dated: March 11, 2019                           Respectfully submitted,

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Case 1:16-cv-00375-AJT-JFA Document 298 Filed 03/11/19 Page 2 of 2 PageID# 9634



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